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14
                                   UNITED STATES DISTRICT COURT
15
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
16
                                           OAKLAND DIVISION
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                                        )             Case No. 4:19-cv-07123-PJH
18    WHATSAPP INC., a Delaware corporation,
                                        )
      and FACEBOOK, INC., a Delaware    )
19    corporation,                      )
                                        )             STIPULATED PROTECTIVE ORDER
20                    Plaintiffs,       )
                                        )
21           v.                         )             Ctrm: 3
                                        )             Judge: Hon. Phyllis J. Hamilton
22    NSO GROUP TECHNOLOGIES LIMITED )
      and Q CYBER TECHNOLOGIES LIMITED, )
23                                      )
                                                      Action Filed: October 29, 2019
                      Defendants.       )
24                                      )
                                        )
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 1           WHEREAS, it may be necessary or desirable to take discovery of confidential, proprietary,

 2   or private information;

 3           WHEREAS, the parties agree that a protective order is appropriate to prevent the

 4   dissemination and unnecessary disclosure of such information on the public record; and

 5           WHEREAS, such information likely will include, among other things, information about

 6   sensitive products and/or services, proprietary design and development materials of products and/or

 7   services, source code, strategic decision-making information, and marketing and sales information;

 8           IT IS HEREBY STIPULATED, and subject to the Court’s approval, pursuant to Federal Rule

 9   of Civil Procedure 26(c), that the following provisions shall govern the handling of such confidential,

10   proprietary, and other private information and documents in these proceedings.

11   1.      PURPOSES AND LIMITATIONS

12           Disclosure and discovery activity in this action are likely to involve production of

13   confidential, proprietary, or private information for which special protection from public disclosure

14   and from use for any purpose other than prosecuting and defending this litigation may be warranted.

15   Accordingly, the parties hereby stipulate to the following Stipulated Protective Order. The parties

16   acknowledge that this Stipulated Protective Order does not confer blanket protections on all

17   disclosures or responses to discovery and that the protection it affords from public disclosure and use

18   extends only to the limited information or items that are entitled to confidential treatment under the

19   applicable legal principles. The parties further acknowledge, as set forth in Section 14.3 below, that

20   this Stipulated Protective Order does not entitle them to file confidential information under seal; Civil

21   Local Rule 79-5 sets forth the procedures that must be followed and the standards that will be applied

22   when a party seeks permission from the court to file material under seal.

23   2.      DEFINITIONS

24           2.1    Challenging Party: a Party or Non-Party that challenges the designation of information

25   or items under this Stipulated Protective Order.

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 1            2.2    “CONFIDENTIAL” Information or Items: information (regardless of how it is

 2   generated, stored or maintained) or tangible things that qualify for protection under Federal Rule of

 3   Civil Procedure 26(c).

 4            2.3    Counsel (without qualifier): Outside Counsel of Record and House Counsel (as well

 5   as their support staff).

 6            2.4    Designated House Counsel: House Counsel who seek access to “HIGHLY

 7   CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE

 8   CODE” information in this matter.

 9            2.5    Designated House Consultant: a person with specialized technical expertise and

10   current employee of a Party.

11            2.6    Designating Party: a Party or Non-Party that designates information or items that it

12   produces in disclosures or in responses to discovery as “CONFIDENTIAL” or “HIGHLY

13   CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE

14   CODE.”

15            2.7    Disclosure or Discovery Material: all items or information, regardless of the medium

16   or manner in which it is generated, stored, or maintained (including, among other things, testimony,

17   transcripts, and tangible things), that are produced or generated in disclosures or responses to

18   discovery in this matter.

19            2.8    Expert: a person with specialized knowledge or experience in a matter pertinent to

20   the litigation who (1) has been retained by a Party or its Counsel to serve as an expert witness or as

21   a consultant in this action, (2) is not a past or current employee of a Party or of a Party’s competitor,

22   and (3) at the time of retention, is not anticipated to become an employee of a Party or of a Party’s

23   competitor.

24            2.9    “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” Information or Items:

25   extremely sensitive “Confidential Information or Items,” disclosure of which to another Party or Non-

26   Party would create a substantial risk of serious harm that could not be avoided by less restrictive

27   means.

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 1           2.10      “HIGHLY CONFIDENTIAL – SOURCE CODE” Information or Items: extremely

 2   sensitive “Confidential Information or Items” representing computer code and associated comments

 3   and revision histories, formulas, engineering specifications, or schematics, and technical data and

 4   logs related thereto; disclosure of which to another Party or Non-Party would create a substantial risk

 5   of serious harm that could not be avoided by less restrictive means.

 6           2.11      House Counsel: attorneys who are employees of a party to this action. House Counsel

 7   does not include Outside Counsel of Record or any other outside counsel.

 8           2.12      Non-Party: any natural person, partnership, corporation, association, government, or

 9   other legal entity not named as a Party to this action (for the avoidance of doubt, at the time of entry

10   of this Protective Order, United States Department of Justice shall be considered a Non-Party for

11   purposes of this Protective Order).

12           2.13      Outside Counsel of Record: attorneys, as well as their employees, who are not

13   employees of a party to this action but are retained to represent or advise a party to this action and

14   have appeared in this action on behalf of that party or are employed by a law firm which has appeared

15   on behalf of that party.

16           2.14      Party: any party to this action, including all of its officers, directors, employees,

17   consultants, retained experts, and Outside Counsel of Record (and their support staffs), but not

18   including entities that have appeared other than as a Plaintiff or Defendant, such as the United States

19   Department of Justice, which appeared as an “Interested Party” with respect to Plaintiffs’ Motion to

20   Disqualify, or King & Spalding LLP, which appeared other than as Defendants’ Outside Counsel of

21   Record, but as a “Miscellaneous” Party with respect to Plaintiffs’ Motion to Disqualify.

22           2.15      Producing Party: a Party or Non-Party that produces Disclosure or Discovery Material

23   in this action.

24           2.16      Professional Vendors: persons or entities that provide litigation support services (e.g.,

25   photocopying, videotaping, translating, preparing exhibits or demonstrations, and organizing,

26   storing, or retrieving data in any form or medium) and their employees and subcontractors.

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 1           2.17   Protected Material: any Disclosure or Discovery Material that is designated as

 2   “CONFIDENTIAL,” or as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or as

 3   “HIGHLY CONFIDENTIAL – SOURCE CODE.”

 4           2.18   Receiving Party: a Party that receives Disclosure or Discovery Material from a

 5   Producing Party.

 6   3.      SCOPE

 7           The protections conferred by this Stipulated Protective Order cover not only Protected

 8   Material (as defined above), but also (1) any information copied or extracted from Protected Material;

 9   (2) all copies, excerpts, summaries, or compilations of Protected Material; and (3) any testimony,

10   conversations, or presentations by Parties or their Counsel that might reveal Protected Material.

11   However, the protections conferred by this Stipulated Protective Order do not cover the following

12   information: (a) any information that is in the public domain at the time of disclosure to a Receiving

13   Party or becomes part of the public domain after its disclosure to a Receiving Party as a result of

14   publication not involving a violation of this Stipulated Protective Order, including becoming part of

15   the public record through trial or otherwise; and (b) any information known to the Receiving Party

16   prior to the disclosure or obtained by the Receiving Party after the disclosure from a source who

17   obtained the information lawfully and under no obligation of confidentiality to the Designating Party.

18   However, if the accuracy of information is confirmed only through the review of Protected Material,

19   then the information shall not be considered to be in the public domain. For example, unsubstantiated

20   media speculation or rumors that are later confirmed to be accurate through access to Protected

21   Material are not “public domain” information. Such information is explicitly included in the

22   definition of “Protected Material” set forth in Section 2.17 above. Any use of Protected Material at

23   trial shall be governed by a separate agreement or order.

24   4.      DURATION

25           Even after final disposition of this litigation, the confidentiality obligations imposed by this

26   Stipulated Protective Order shall remain in effect until a Designating Party agrees otherwise in

27   writing or a court order otherwise directs. Final disposition shall be deemed to be the later of (1)

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 1   dismissal of all claims and defenses in this action, with or without prejudice; and (2) final judgment

 2   after the completion and exhaustion of all appeals, re-hearings, remands, trials, or reviews of this

 3   action, including the time limits for filing any motions or applications for extension of time pursuant

 4   to applicable law and the time limits for filing a petition for writ of certiorari to the Supreme Court

 5   of the United States, if applicable.

 6   5.      DESIGNATING PROTECTED MATERIAL

 7           5.1    Exercise of Restraint and Care in Designating Material for Protection. Each Party or

 8   Non-Party that designates information or items for protection under this Stipulated Protective Order

 9   must take care to limit any such designation to specific material that qualifies under the appropriate

10   standards. To the extent it is practical to do so, the Designating Party must designate for protection

11   only those parts of material, documents, items, or oral or written communications that qualify – so

12   that other portions of the material, documents, items, or communications for which protection is not

13   warranted are not swept unjustifiably within the ambit of this Stipulated Protective Order.

14           Mass, indiscriminate, or routinized designations are prohibited. Designations that are shown

15   to be clearly unjustified or that have been made for an improper purpose (e.g., to unnecessarily

16   encumber or retard the case development process or to impose unnecessary expenses and burdens on

17   other parties) expose the Designating Party to sanctions.

18           If it comes to a Designating Party’s attention that information or items that it designated for

19   protection do not qualify for protection at all or do not qualify for the level of protection initially

20   asserted, that Designating Party must promptly notify all other parties that it is withdrawing the

21   mistaken designation.

22           5.2    Manner and Timing of Designations. Except as otherwise provided in this Stipulated

23   Protective Order, or as otherwise stipulated or ordered, Disclosure or Discovery Material that

24   qualifies for protection under this Stipulated Protective Order must be clearly so designated before

25   the material is disclosed or produced.

26           Designation in conformity with this Stipulated Protective Order requires:

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 1                  (a) for information in documentary form (e.g., paper or electronic documents, but

 2   excluding transcripts of depositions or other pretrial or trial proceedings), that the Producing Party

 3   affix the legend “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES

 4   ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE” to each page that contains Protected

 5   Material.

 6                  (b) for testimony given in deposition or other pretrial or trial proceedings, that the

 7   Designating Party either (1) identifies on the record or (2) identifies, in writing, within 21 days of

 8   receipt of the final transcript, that the transcript shall be treated as “CONFIDENTIAL,” “HIGHLY

 9   CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL – SOURCE

10   CODE.”

11          Parties shall give the other parties notice if they reasonably expect a deposition or other

12   pretrial or trial proceeding to include Protected Material so that the other parties can ensure that only

13   authorized individuals who have signed the “Acknowledgment and Agreement to Be Bound”

14   (Exhibit A) are present at those proceedings. The use of a document as an exhibit at a deposition or

15   other pretrial or trial proceedings shall not in any way affect its designation as “CONFIDENTIAL”

16   or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL

17   – SOURCE CODE.”

18          Transcripts containing Protected Material shall have an obvious legend on the title page that

19   the transcript contains Protected Material, and the title page shall be followed by a list of all pages

20   that have been designated as Protected Material and the level of protection being asserted by the

21   Designating Party. The Designating Party shall inform the court reporter of these requirements. Any

22   transcript that was not designated on the record pursuant to subparagraph 5.2(b) above shall be treated

23   during the 21-day period for designation as if it had been designated “HIGHLY CONFIDENTIAL –

24   ATTORNEYS’ EYES ONLY” in its entirety. After the expiration of that period or as of such earlier

25   time that such transcript is designated, the transcript shall be treated only as actually designated.

26                  (c) for information produced in some form other than documentary and for any other

27   tangible items, that the Producing Party affix in a prominent place on the exterior of the container or

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 1   containers in which the information or item is stored the legend “CONFIDENTIAL” or “HIGHLY

 2   CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE

 3   CODE.” If only a portion or portions of the information or item warrant protection, the Producing

 4   Party, to the extent practicable, shall identify the protected portion(s) and specify the level of

 5   protection being asserted.

 6          5.3     Inadvertent Failures to Designate. An inadvertent failure to designate qualified

 7   information or items does not waive the Designating Party’s right to secure protection under this

 8   Stipulated Protective Order for such material. Upon correction of a designation, the Receiving Party

 9   must make all reasonable efforts to assure that the material is treated in accordance with the

10   provisions of this Stipulated Protective Order.

11          In the event that Disclosure or Discovery Material that is subject to a “CONFIDENTIAL”,

12   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”, or “HIGHLY CONFIDENTIAL –

13   SOURCE CODE” designation is inadvertently produced without such designation, the Producing

14   Party that inadvertently produced the document shall give written notice of such inadvertent

15   production (the “Inadvertent Production Notice”) and shall reproduce copies of the Discovery

16   Material that contain the appropriate confidentiality designation. Upon receipt of such Inadvertent

17   Production Notice and reproduction of Discovery Materials, the Party that received the inadvertently

18   produced document, material, or testimony shall promptly destroy the inadvertently produced

19   document, material, or testimony and all copies thereof, or return such together with all copies of

20   such documents, material, or testimony to counsel for the Producing Party. Should the Receiving

21   Party choose to destroy such inadvertently produced document, material, or testimony, the Receiving

22   Party shall notify the Producing Party in writing of such destruction within 14 days of receipt of

23   written notice of the inadvertent production and reproduction of Discovery Materials. This provision

24   is not intended to apply to any inadvertent production of any document, material, or testimony

25   protected by attorney-client or work product privileges.

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 1   6.      CHALLENGING CONFIDENTIALITY DESIGNATIONS

 2           6.1    Timing of Challenges. Any Party or Non-Party may challenge a designation of

 3   confidentiality at any time. Unless a prompt challenge to a Designating Party’s confidentiality

 4   designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic burdens,

 5   or a significant disruption or delay of the litigation, a Party does not waive its right to challenge a

 6   confidentiality designation by electing not to mount a challenge promptly after the original

 7   designation is disclosed.

 8           6.2    Meet and Confer. The Challenging Party shall initiate the dispute resolution process

 9   by providing written notice of each designation it is challenging and describing the basis for each

10   challenge. To avoid ambiguity as to whether a challenge has been made, the written notice must

11   recite that the challenge to confidentiality is being made in accordance with this specific paragraph

12   of the Stipulated Protective Order. The parties shall attempt to resolve each challenge in good faith

13   and must begin the process by conferring directly (in voice to voice dialogue; other forms of

14   communication are not sufficient) within 14 days of the date of service of notice. In conferring, the

15   Challenging Party must explain the basis for its belief that the confidentiality designation was not

16   proper and must give the Designating Party an opportunity to review the designated material, to

17   reconsider the circumstances, and, if no change in designation is offered, to explain the basis for the

18   chosen designation. A Challenging Party may proceed to the next stage of the challenge process only

19   if it has engaged in this meet and confer process first or establishes that the Designating Party is

20   unwilling to participate in the meet and confer process in a timely manner.

21           6.3    Judicial Intervention.    If the Parties cannot resolve a challenge without court

22   intervention, the Challenging Party shall file a motion to challenge confidentiality under Civil Local

23   Rule 7 (and in compliance with Civil Local Rule 79-5, if applicable) within 21 days of the initial

24   notice of challenge or within 14 days of the parties agreeing that the meet and confer process will not

25   resolve their dispute, whichever is earlier. Each such motion must be accompanied by a competent

26   declaration affirming that the movant has complied with the meet and confer requirements imposed

27   in the preceding paragraph. The burden of persuasion in any such challenge proceeding shall be on

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 1   the Designating Party. Frivolous challenges and those made for an improper purpose (e.g., to harass

 2   or impose unnecessary expenses and burdens on other parties) may expose the Challenging Party to

 3   sanctions. All parties shall continue to afford the material in question the level of protection to which

 4   it is entitled under the Producing Party’s designation until the Court rules on the challenge.

 5   7.      ACCESS TO AND USE OF PROTECTED MATERIAL

 6           7.1     Basic Principles. A Receiving Party may use Protected Material that is disclosed or

 7   produced by another Party or by a Non-Party in connection with this case only for prosecuting,

 8   defending, or attempting to settle this litigation and associated appeals. Such Protected Material may

 9   be disclosed only to the categories of persons and under the conditions described in this Stipulated

10   Protective Order. When the litigation has been terminated, a Receiving Party must comply with the

11   provisions of Section 15 below (FINAL DISPOSITION).

12           Protected Material must be stored and maintained by a Receiving Party at a location and in a

13   secure manner that ensures that access is limited to the persons authorized under this Stipulated

14   Protective Order.

15           7.2     Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise ordered

16   by the Court or permitted in writing by the Designating Party, a Receiving Party may disclose any

17   information or item designated “CONFIDENTIAL” only to:

18                   (a) the Receiving Party’s Outside Counsel of Record in this action, as well as

19   employees of said Outside Counsel of Record to whom it is reasonably necessary to disclose the

20   information for this litigation;

21                   (b) the officers, directors, and employees (including House Counsel) of the Receiving

22   Party to whom disclosure is reasonably necessary for this litigation and who have signed the

23   “Acknowledgment and Agreement to Be Bound” (Exhibit A);

24                   (c) Experts (as defined in this Stipulated Protective Order) of the Receiving Party to

25   whom disclosure is reasonably necessary for this litigation and who have signed the

26   “Acknowledgment and Agreement to Be Bound” (Exhibit A);

27                   (d) the Court and its personnel;

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 1                   (e) court reporters and their staff;

 2                   (f) professional jury or trial consultants including mock jurors, and Professional

 3   Vendors to whom disclosure is reasonably necessary for this litigation and who have signed the

 4   “Acknowledgment and Agreement to Be Bound” (Exhibit A);

 5                   (g) during their depositions, witnesses in the action to whom disclosure is reasonably

 6   necessary and who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A),

 7   unless otherwise agreed by the Designating Party or ordered by the Court. Pages of transcribed

 8   deposition testimony or exhibits to depositions that reveal Protected Material must be separately

 9   bound by the court reporter and may not be disclosed to anyone except as permitted under this

10   Stipulated Protective Order;

11                   (h) the author or recipient of a document containing the information or a custodian or

12   other person who otherwise possessed or knew the information; and

13                   (i) any mediator who is assigned to this matter, and his or her staff, who have signed

14   the “Acknowledgment and Agreement to Be Bound” (Exhibit A).

15           7.3     Disclosure of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” and

16   “HIGHLY CONFIDENTIAL – SOURCE CODE” Information or Items. Unless otherwise ordered

17   by the Court or permitted in writing by the Designating Party, a Receiving Party may disclose any

18   information or item designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or

19   “HIGHLY CONFIDENTIAL – SOURCE CODE” only to:

20                  (a) the Receiving Party’s Outside Counsel of Record in this action, as well as

21   employees of said Outside Counsel of Record to whom it is reasonably necessary to disclose the

22   information for this litigation;

23                  (b) Designated House Counsel of the Receiving Party (1) who has no involvement in

24   competitive decision-making, (2) to whom disclosure is reasonably necessary for this litigation, (3)

25   who has signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A), and (4) as to whom

26   the procedures set forth in paragraph 7.4(a)(1), below, have been followed;

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 1                 (c) Designated House Consultant of the Receiving Party (1) to whom disclosure is

 2   reasonably necessary for this litigation, (2) who has signed the “Acknowledgment and Agreement to

 3   Be Bound” (Exhibit A), and (3) as to whom the procedures set forth in paragraph 7.4(a)(2), below,

 4   have been followed;

 5                 (d) Experts (as defined in this Stipulated Protective Order) of the Receiving Party (1)

 6   to whom disclosure is reasonably necessary for this litigation, (2) who have signed the

 7   “Acknowledgment and Agreement to Be Bound” (Exhibit A), and (3) as to whom the procedures set

 8   forth in paragraph 7.4(a)(3), below, have been followed;

 9                 (e) the Court and its personnel;

10                 (f) court reporters and their staff;

11                 (g) professional jury or trial consultants (including mock jurors who have signed a

12   confidentiality agreement in the case of “HIGHLY CONFIDENTIAL – ATTORNEY’S EYES

13   ONLY” Information or Items, but excluding mock jurors in the case of “HIGHLY CONFIDENTIAL

14   – SOURCE CODE” Information or Items), and Professional Vendors to whom disclosure is

15   reasonably necessary for this litigation and who have signed the “Acknowledgment and Agreement

16   to Be Bound” (Exhibit A);

17                  (h) the author or recipient of a document containing the information or a custodian or

18   other person who otherwise possessed or knew the information; and

19                  (i) any mediator who is assigned to this matter, and his or her staff, who have signed

20   the “Acknowledgment and Agreement to Be Bound” (Exhibit A).

21          7.4     Procedures for Approving or Objecting to Disclosure of “HIGHLY CONFIDENTIAL

22   - ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE” Information

23   or Items to Designated House Counsel, Designated House Consultant, and Experts.

24                  (a)(1) Unless otherwise ordered by the court or agreed to in writing by the

25   Designating Party, a Party that seeks to disclose to Designated House Counsel any information or

26   item that has been designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or

27   “HIGHLY CONFIDENTIAL – SOURCE CODE” pursuant to paragraph 7.3(b) first must make a

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 1   written request to the Designating Party that (1) sets forth the full name of the Designated House

 2   Counsel and job title of the proposed recipient, and (2) describes the Designated House Counsel’s

 3   current and reasonably foreseeable future primary job duties and responsibilities in sufficient detail

 4   to determine if House Counsel is involved, or may become involved, in any competitive decision

 5   making. Any Designated House Counsel who receives “HIGHLY CONFIDENTIAL –

 6   ATTORNEYS’ EYES ONLY” information pursuant to this Order must disclose any relevant

 7   changes in job duties or responsibilities that occur prior to the date that is 60 days after final

 8   disposition of litigation, and must do so within seven days prior to such changes taking effect.

 9                   (a)(2) Unless otherwise ordered by the Court or agreed to in writing by the

10   Designating Party, a Party that seeks to disclose to a Designated House Consultant any information

11   or item that has been designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or

12   “HIGHLY CONFIDENTIAL – SOURCE CODE” pursuant to Section 5, first must make a written

13   request to the Designating Party that (1) sets forth the full name and job title of the proposed

14   recipient, (2) describes the recipient’s current and reasonably foreseeable future primary job duties

15   and responsibilities and (3) identifies with particularity the information or item that the Party seeks

16   to disclose to Designated House Consultant. Any Designated House Consultant who receives

17   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL –

18   SOURCE CODE” information pursuant to this Order must disclose any relevant changes in job

19   duties or responsibilities that occur prior to the date that is 60 days after final disposition of

20   litigation, and must do so within seven days prior to such changes taking effect.

21                   (a)(3) Unless otherwise ordered by the Court or agreed to in writing by the

22   Designating Party, a Party that seeks to disclose to an Expert (as defined in this Stipulated

23   Protective Order) any information or item that has been designated “HIGHLY CONFIDENTIAL –

24   ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE” pursuant to

25   Section 5, first must make a written request to the Designating Party that (1) identifies the general

26   categories of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY

27   CONFIDENTIAL – SOURCE CODE” information that the Receiving Party seeks permission to

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 1   disclose to the Expert, (2) sets forth the full name of the Expert and the city and state of his or her

 2   primary residence, (3) attaches a copy of the Expert’s current resume, (4) identifies the Expert’s

 3   current employer(s), (5) identifies each person or entity from whom the Expert has received

 4   compensation or funding for work in his or her areas of expertise or to whom the Expert has

 5   provided professional services, including in connection with a litigation, at any time during the

 6   preceding five years and the party to the litigation for whom such work was done, and (6) identifies

 7   (by name and number of the case, filing date, and location of court) any litigation in connection

 8   with which the Expert has offered expert testimony, including through a declaration, report, or

 9   testimony at a deposition or trial, during the preceding five years. With regard to the information

10   sought through part (5) of this disclosure, if the Expert believes any of this information is subject to

11   a confidentiality obligation to a third party, then the Expert should provide whatever information

12   the Expert believes can be disclosed without violating any confidentiality agreements, and the Party

13   seeking to disclose to the Expert shall be available to meet and confer with the Designating Party

14   regarding any such engagement.

15                  (b) A Party that makes a request and provides the information specified in the

16   preceding respective paragraphs may disclose the subject Protected Material to the identified

17   Designated House Counsel, Designated House Consultant, or Expert unless, within 14 days of

18   delivering the request, the Party receives a written objection from the Designating Party. Any such

19   objection must set forth in detail the grounds on which it is based.

20                  (c) A Party that receives a timely written objection must meet and confer with the

21   Designating Party (through direct voice to voice dialogue) to try to resolve the matter by agreement

22   within seven days of the written objection. If no agreement is reached, the Party seeking to make the

23   disclosure to Designated House Counsel, Designated House Consultant, or the Expert may file a

24   motion as provided in Civil Local Rule 7 (and in compliance with Civil Local Rule 79-5, if applicable)

25   seeking permission from the court to do so. Any such motion must describe the circumstances with

26   specificity, set forth in detail the reasons why the disclosure to Designated House Counsel,

27   Designated House Consultant, or the Expert is reasonably necessary, assess the risk of harm that the

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 1   disclosure would entail, and suggest any additional means that could be used to reduce that risk. In

 2   addition, any such motion must be accompanied by a competent declaration describing the parties’

 3   efforts to resolve the matter by the agreement (i.e., the extent and the content of the meet and confer

 4   discussions) and setting forth the reasons advanced by the Designating Party for its refusal to approve

 5   the disclosure. In any such proceeding, the Party opposing disclosure to the Expert shall bear the

 6   burden of proving that the risk of harm that the disclosure would entail (under the safeguards

 7   proposed) outweighs the Receiving Party’s need to disclose the Protected Material to its Expert.

 8   8.      PROSECUTION BAR

 9           Absent written consent from the Producing Party, any individual bound by this agreement

10   who receives access to “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY

11   CONFIDENTIAL – SOURCE CODE” information shall not be involved in the prosecution of

12   patents or patent applications relating to the subject matter of the suit as well as the subject matter of

13   the “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL

14   – SOURCE CODE” information to which access is received, before any foreign or domestic agency,

15   including the United States Patent and Trademark Office (“the Patent Office”). For purposes of this

16   paragraph, “prosecution” includes directly or indirectly drafting, amending, advising, or otherwise

17   affecting the scope or maintenance of patent claims. Prosecution includes, for example, original

18   prosecution, reissue, and reexamination and other post-grant proceedings. To avoid any doubt,

19   “prosecution” as used in this paragraph does not include representing a party challenging a patent

20   before a domestic or foreign agency (including, but not limited to, a reissue protest, ex parte

21   reexamination, inter partes reexamination, post grant review, covered business method patent

22   review, or inter partes review). This Prosecution Bar shall begin when access to “HIGHLY

23   CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE

24   CODE” information is first received by the affected individual and shall end two (2) years after final

25   termination of this action.

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 1   9.       SOURCE CODE

 2                  (a) To the extent production of source code becomes necessary in this case, a

 3   Producing Party may designate source code as “HIGHLY CONFIDENTIAL - SOURCE CODE” if

 4   it comprises or includes extremely sensitive “Confidential Information or Items” representing

 5   computer code and associated comments and revision histories, formulas, engineering specifications,

 6   or schematics that define or otherwise describe in detail the algorithms or structure of software or

 7   hardware designs, and technical data and logs related thereto, disclosure of which to another Party or

 8   Non-Party would create a substantial risk of serious harm that could not be avoided by less restrictive

 9   means.

10                  (b) Protected Material designated as “HIGHLY CONFIDENTIAL – SOURCE

11   CODE” shall be subject to all of the protections afforded to “HIGHLY CONFIDENTIAL –

12   ATTORNEYS’ EYES ONLY” information including the Prosecution Bar set forth in Paragraph 8,

13   and may be disclosed only to the individuals to whom “HIGHLY CONFIDENTIAL –

14   ATTORNEYS’ EYES ONLY – SOURCE CODE” information may be disclosed, as set forth in

15   Paragraphs 7.3 and 7.4.

16                  (c) Any source code produced in discovery shall be made available for inspection, in

17   a format allowing it to be reasonably reviewed and searched, during normal business hours (9:00 am

18   to 6:00 pm local time) or at other mutually agreeable times, at an office of the Producing Party’s

19   Outside Counsel of Record (unless precluded by law) or another mutually agreed upon location. The

20   computer containing source code (“Source Code Computer”) will be made available upon reasonable

21   notice to the Producing Party, which shall not be less than five (5) business days in advance of the

22   requested inspection. The Source Code Computer shall be made available for inspection in a room

23   without Internet access or network access to other computers (“Source Code Room”), and the

24   Receiving Party shall not copy, remove, or otherwise transfer any portion of the source code onto

25   any recordable media or recordable device. The Producing Party may visually monitor the activities

26   of the Receiving Party’s representatives during any source code review, but only to ensure that there

27   is no unauthorized recording, copying, or transmission of the source code. Each day that source code

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 1   is viewed, all persons viewing source code shall sign a log that will include the names of all persons

 2   who enter the room to view the source code and the times when they enter and depart.

 3                  (d) The Receiving Party may request paper copies of limited portions of source code

 4   that are reasonably necessary to attach to filings, pleadings, expert reports, or other papers, or for use

 5   as an exhibit at deposition or trial, but shall not request paper copies for the purposes of reviewing

 6   the source code other than electronically as set forth in paragraph (c) in the first instance. Using the

 7   software available on the Source Code Computer, the Receiving Party shall create PDFs of the printed

 8   copies the Receiving Party is requesting and save them in a folder on the desktop named “Print

 9   Requests” with a subfolder identifying the date of the request. The PDF printouts must include

10   identifying information including the full file path and file name, page number, line numbers, and

11   date. The request for printed source code shall be served via an email request identifying the

12   subfolders of the “Print Requests” folder that the Receiving Party is requesting. Within five (5)

13   business days of such request, the Producing Party shall provide one copy of all such source code on

14   non-copyable paper including Bates numbers and the label “HIGHLY CONFIDENTIAL - SOURCE

15   CODE.” If the request is served after 5:00 p.m. Pacific Time, it shall be deemed served the following

16   business day. The Producing Party may challenge the amount of source code requested in hard copy

17   form pursuant to the dispute resolution procedure set forth in Section 6 whereby the Producing Party

18   is the “Challenging Party” and the Receiving Party is the “Designating Party” for purposes of dispute

19   resolution.

20                  (e) The Receiving Party shall maintain a log of all paper copies of the source code.

21   The log shall include the names of the reviewers and/or recipients of paper copies and locations where

22   the paper copies are stored. Upon one (1) day’s advance notice to the Receiving Party by the

23   Producing Party, the Receiving Party shall provide a copy of this log to the Producing Party. The

24   Receiving Party shall maintain all paper copies of any printed portions of the Source Code in a

25   secured, locked area. The Receiving Party shall not create any electronic or other images, or make

26   electronic copies, of the source code from any paper copy of the source code for use in any manner

27   (including by way of example only, the Receiving Party may not scan the source code to a PDF or

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 1   photograph it), and shall not convert any of the information contained in the paper copies into any

 2   electronic format. Images or copies of source code shall not be included in correspondence between

 3   the Parties (references to production numbers shall be used instead), and shall be omitted from

 4   pleadings and other papers. The Receiving Party shall only request additional paper copies if such

 5   additional copies are (1) necessary to attach to court filings, pleadings, or other papers (including a

 6   testifying Expert’s expert report), (2) necessary for deposition, or (3) necessary for trial. The

 7   Receiving Party shall not request paper copies for the purposes of reviewing the source code other

 8   than electronically as set forth in paragraph (c) in the first instance. To the extent a deposition is

 9   likely to involve source code, the Party taking the deposition shall provide at least seven (7) days

10   written notice of that fact, and the Producing Party will make a source code computer available at the

11   deposition, minimizing the need for additional paper copies of source code. The Producing Party is

12   not required to create a new Source Code Computer for the purpose of depositions. Any paper copies

13   used during a deposition shall be retrieved by the Producing Party at the end of each day and must

14   not be given to or left with a court reporter or any other unauthorized individual.

15                  (f) The Producing Party shall install on the Source Code Computer tools that are

16   sufficient for viewing the code produced. The Receiving Party’s Outside Counsel and/or

17   experts/consultants may request that commercially available software tools for viewing and searching

18   source code be installed on the Source Code Computer, provided, however, that (a) the Receiving

19   Party possesses an appropriate license to such software tools; (b) the Producing Party approves such

20   software tools; and (c) such other software tools are reasonably necessary for the Receiving Party to

21   perform its review of the source code consistent with all of the protections herein. The Producing

22   Party shall approve reasonable requests for additional commercially available software tools. The

23   Receiving Party must provide the Producing Party with the CD, DVD, file path, or Advanced Package

24   Tool package containing such licensed software tool(s) at least six business days in advance of the

25   date upon which the Receiving Party wishes to have the additional software tools available for use

26   on the Source Code Computer. The Producing Party shall make reasonable attempts to install the

27   requested software but will not be held responsible for the proper setup, functioning, or support of

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 1   any software requested by the Receiving Party. By way of example, the Producing Party will not

 2   compile or debug software for installation.

 3                  (g) No recordable media or recordable devices, including, without limitation, sound

 4   recorders, computers, cellular telephones, peripheral equipment, cameras, CDs, DVDs, or drives of

 5   any kind, shall be permitted into the Source Code Room.

 6                  (h) The Receiving Party’s Outside Counsel and/or experts/consultants shall be entitled

 7   to take hand-written notes relating to the source code but may not copy the source code into the notes

 8   and may not take such notes electronically on the Source Code Computer itself or any other computer.

 9                  (i) The Receiving Party’s Outside Counsel and any person receiving a copy of any

10   source code must maintain and store any paper copies of the source code at their offices in a manner

11   that prevents duplication of or unauthorized access to the source code, including, without limitation,

12   storing the source code in a locked room or locked cabinet at all times when it is not being reviewed.

13   Absent good cause shown, no more than a total of five (5) persons identified by the Receiving Party,

14   excluding Outside Counsel, shall have access to a Producing Party’s source code.

15   10.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER

16          LITIGATION

17          10.1    If a Party is served with a subpoena, discovery request, motion to disclose a

18   Designating Party’s information or court order issued in other litigation that compels disclosure of

19   any information or items designated in this action as “CONFIDENTIAL” or “HIGHLY

20   CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE

21   CODE”, that Party must:

22                  (a) promptly notify in writing the Designating Party. Such notification shall include

23   a copy of the subpoena, discovery request, motion or court order;

24                  (b) promptly notify in writing the party who caused the subpoena, discovery request,

25   motion or order to issue in the other litigation that some or all of the material covered by the subpoena,

26   discovery request, or order is subject to this Stipulated Protective Order. Such notification shall

27   include a copy of this Stipulated Protective Order; and

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 1                   (c) cooperate with respect to all reasonable procedures sought to be pursued by the

 2   Designating Party whose Protected Material may be affected.

 3                   If the Designating Party timely seeks a protective order, the Party served with the

 4   subpoena, discovery request, or court order shall not produce any information designated in this

 5   action as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or

 6   “HIGHLY CONFIDENTIAL – SOURCE CODE” before a determination by the Court from which

 7   the subpoena, discovery request, or order issued, unless the Party has obtained the Designating

 8   Party’s permission. The Designating Party shall bear the burden and expense of seeking protection

 9   in that court of its Protected Material – and nothing in these provisions should be construed as

10   authorizing or encouraging a Receiving Party in this action to disobey a lawful directive from another

11   court.

12            10.2   The provisions set forth herein are not intended to, and do not, restrict in any way

13   the procedures set forth in Federal Rule of Civil Procedure 45(d)(3) or (f).

14   11.      A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED IN THIS

15            LITIGATION

16                   (a) The terms of this Stipulated Protective Order are applicable to information

17   produced by a Non-Party in this action and designated as “CONFIDENTIAL” or “HIGHLY

18   CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE

19   CODE.” Such information produced by Non-Parties in connection with this litigation is protected

20   by the remedies and relief provided by this Stipulated Protective Order. Nothing in these provisions

21   should be construed as prohibiting a Non-Party from seeking additional protections.

22                   (b) In the event that a Party is required, by a valid discovery request, to produce a

23   Non-Party’s confidential information in its possession, and the Party is subject to an agreement with

24   the Non-Party not to produce the Non-Party’s confidential information, then the Party shall:

25                          1. promptly notify in writing the Requesting Party and the Non-Party that some

26   or all of the information requested is subject to a confidentiality agreement with a Non-Party; and

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 1                          2. promptly provide the Non-Party with a copy of the Stipulated Protective

 2   Order in this litigation, the relevant discovery request(s), and a reasonably specific description of the

 3   information requested.

 4                  (c) If the Non-Party fails to object or seek a protective order from this court within a

 5   reasonable period of time after receiving the notice and accompanying information, including but not

 6   limited to any contractual notice period in an agreement between the Producing Party and the Non-

 7   Party covering the confidentiality and/or disclosure of the information requested, the Producing Party

 8   may produce the Non-Party’s confidential information responsive to the discovery request. If the

 9   Non-Party timely seeks a protective order, the Producing Party shall not produce any information in

10   its possession or control that is subject to the confidentiality agreement with the Non-Party before a

11   determination by the court. Absent a court order to the contrary, the Non-Party shall bear the burden

12   and expense of seeking protection in this court of its Protected Material.

13   12.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

14          If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed Protected

15   Material to any person or in any circumstance not authorized under this Stipulated Protective Order,

16   the Receiving Party must immediately (a) notify in writing the Designating Party of the unauthorized

17   disclosures, (b) use its best efforts to retrieve all unauthorized copies of the Protected Material, (c)

18   inform the person or persons to whom unauthorized disclosures were made of all the terms of this

19   Stipulated Protective Order, and (d) request such person or persons to execute the “Acknowledgment

20   and Agreement to Be Bound” that is attached hereto as Exhibit A.

21   13.    INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE PROTECTED

22          MATERIAL

23          When a Producing Party gives notice to Receiving Parties that certain inadvertently produced

24   material is subject to a claim of privilege or other protection, the obligations of the Receiving Parties

25   are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B). A Producing Party may assert

26   privilege or protection over produced documents at any time by notifying the Receiving Party in

27   writing of the assertion of privilege or protection. In addition, information that contains privileged

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 1   matter or attorney work product shall be returned or destroyed immediately by the Receiving Party

 2   if such information appears on its face to have been inadvertently produced or if requested. After

 3   being notified, a Receiving Party must promptly return or destroy the specified information until the

 4   claim is resolved.

 5          Pursuant to Federal Rule of Evidence 502(d) and (e), the inadvertent production of a

 6   privileged or work-product-protected document is not a waiver of privilege or protection from

 7   discovery in this case or in any other federal or state proceeding. For example, the mere inadvertent

 8   production of privileged or work-product-protected documents in this case as part of a production is

 9   not itself a waiver in this case or any other federal or state proceeding.

10   14.    MISCELLANEOUS

11          14.1    Right to Further Relief. Nothing in this Stipulated Protective Order abridges the right

12   of any person to seek its modification by the Court in the future.

13          14.2    Right to Assert Other Objections. By stipulating to the entry of this Stipulated

14   Protective Order, no Party waives any right it otherwise would have to object to disclosing or

15   producing any information or item on any ground not addressed in this Stipulated Protective Order.

16   Similarly, no Party waives any right to object on any ground to use in evidence of any of the material

17   covered by this Stipulated Protective Order.

18          14.3     Export Control. [To be determined.]

19          14.4    Filing Protected Material. Without written permission from the Designating Party or

20   a court order secured after appropriate notice to all interested persons, a Party may not file any

21   Protected Material in the public record in this action. A Party that seeks to file under seal any

22   Protected Material must comply with Civil Local Rule 79-5. Protected Material may only be filed

23   under seal pursuant to a court order authorizing the sealing of the specific Protected Material at issue.

24   Pursuant to Civil Local Rule 79-5, a sealing order will issue only upon a request establishing that the

25   Protected Material at issue is privileged, protectable as a trade secret, or otherwise entitled to

26   protection under the law. If a Receiving Party’s request to file Protected Material under seal pursuant

27   to Civil Local Rule 79-5(e) is denied by the court, then the Receiving Party may file the Protected

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 1   Material in the public record pursuant to Civil Local Rule 79-5(e)(2) unless otherwise instructed by

 2   the court.

 3            14.5   Privilege Logs. The parties shall exchange their respective privilege logs at a time to

 4   be agreed upon by the parties following the production of documents, or as otherwise ordered by the

 5   Court.

 6   15.      FINAL DISPOSITION

 7            Within 60 days after the final disposition of this action, as defined in paragraph 4, each

 8   Receiving Party must return all Protected Material to the Producing Party or destroy such material.

 9   As used in this subdivision, “all Protected Material” includes all copies, abstracts, compilations,

10   summaries, and any other format reproducing or capturing any of the Protected Material. Whether

11   the Protected Material is returned or destroyed, the Receiving Party must submit a written

12   certification to the Producing Party (and, if not the same person or entity, to the Designating Party)

13   by the 60-day deadline that (1) identifies (by category, where appropriate) all the Protected Material

14   that was returned or destroyed and (2) affirms that the Receiving Party has not retained any copies,

15   abstracts, compilations, summaries or any other format reproducing or capturing any of the Protected

16   Material. Notwithstanding this provision, Outside Counsel of Record are entitled to retain an archival

17   copy of all pleadings, motion papers, trial, deposition, and hearing transcripts, legal memoranda,

18   correspondence, deposition and trial exhibits, expert reports, attorney work product, and consultant

19   and Expert work product, even if such materials contain Protected Material, with the exception of

20   paper copies of source code. Any such archival copies that contain or constitute Protected Material

21   remain subject to this Stipulated Protective Order as set forth in Section 4 (DURATION).

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      DATED: August 28, 2020                            DATED: August 28, 2020
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 2
      By: /s/ Joseph N. Akrotirianakis                  By: /s/Micah G. Block
 3
      Attorneys for Plaintiffs WhatsApp Inc. and        Attorneys for Defendants NSO Group
 4    Facebook, Inc.                                    Technologies Limited and Q Cyber
                                                        Technologies Limited
 5

 6

 7
                                         FILER’S ATTESTATION
 8
            Pursuant to Civil L. R. 5-1(i)(3), regarding signatures, Micah G. Block hereby attests that
 9
     concurrence in the filing of the document has been obtained from all of the signatories above.
10
      Dated: August 28, 2020                            /s/ Micah G. Block
11
                                                        Micah G. Block
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14                                                  ***

15                                             August 2020.                       S DISTRICT
                                   31st day of _______
            IT IS SO ORDERED, this ____                                        ATE           C
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                               IN THE UNITED STATES DISTRICT COURT
 1

 2                          FOR THE NORTHRN DISTRICT OF CALIFORNIA

 3                                                      )
      WHATSAPP INC., a Delaware corporation,            )    Case No. 4:19-cv-07123-PJH
 4    and FACEBOOK, INC., a Delaware                    )
      corporation,                                      )
 5                                                      )
                                                        )
 6                       Plaintiffs,                    )
                                                        )
 7                                                      )
             v.                                         )
 8                                                      )
     NSO GROUP TECHNOLOGIES LIMITED                     )
 9   and Q CYBER TECHNOLOGIES LIMITED,                  )
                                                        )
10                        Defendants                    )
                                                        )
11                                                      )
                                                        )
12
                                                  EXHIBIT A
13
                       ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
14
     I, _____________________________, declare under penalty of perjury that I have read in its
15   entirety and understand the Stipulated Protective Order that was issued by the United States District
     Court for the Northern District of California in the case of WhatsApp Inc. and Facebook, Inc. v.
16
     NSO Group Technologies Limited and Q Cyber Techologies Limited, Case No. 4:19-cv-07123-PJH.
17   I agree to comply with and to be bound by all the terms of this Stipulated Protective Order and I
     understand and acknowledge that failure to so comply could expose me to sanctions and
18   punishment in the nature of contempt. I solemnly promise that I will not disclose in any manner any
     information or item that is subject to this Stipulated Protective Order to any person or entity except
19   in strict compliance with the provisions of this Order. I further agree to submit to the jurisdiction of
     the United States District Court for the Northern District of California for the purpose of enforcing
20
     the terms of this Stipulated Protective Order, even if such enforcement proceedings occur after
21   termination of this action.

22
     Printed name: _______________________________
23
     Title: ______________________________________
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     Address: ___________________________________
25
     Signature: __________________________________
26
     Date: ______________________________________
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